Case 1:07-cv-04490-AKH Document 34

UNITED STATBS DISTRICT COUR.T
SOUTHERN DISTRICT OF NEW YORK

Filed 05/23/2008 Page 1 of 2

 

IN RE LOWER MANHATTAN DISASTER SITE
LITIGATION

 

ARACELI MEDINA,
Piaintiffs,

against

lll WALL STREET LLC, 230 CENTRAL CO.,
LLC, ALAN KASMAN DBA KASCO, ANN
TAYLOR STORES CORPORATION, BANKERS
TRUST COMPANY, BATTERY PARK CITY

O7CV4490

ANSWER TO
AN¥ENDED
COMPLAENT

 

AUTHORITY, BLACKMON'~MOOR§NG
' STEAMATIC cATASToPHE, INC. D/B/A'BMS
CAT, _BR_OOKFIELD FINANCIAL PROPER_'_H_ES_,
' ~ `INC'.',' 'BRO{DK"FIEI§B *FIN'AN`C*I'AL""PR'OPERTI:ES','
LP, BROOI<:FIELD PARTNERS, LP,
BR`OOKFI`E`L`D PROPERTIES CORPORATION,
BROOKFIELD PROPERTIES HOLDINGS INC.,
BT PRIVATE cLIENTS CORP., CITIBANK, NA,
CITIGROUP, INC., CUSHMAN & WAKEHELD
111 WALL, INC., CUSHMAN & WAKEFIELD,
INC., DBUTSCHE B_ANK_ TRU_ST__ CO_MPA_NY,
DEUTSCHE BANK TRUST COMPANY
AMERICAS, I)EUTSCHE BANK TRUST
CORPORATION, ENVIROTECH CLE_AN AIR,
INC., GPS ENVIRONMENTAL CONSULTANTS,
INC., HILLMAN ENVIRONMENTAL GROUP,
LLC., INDOOR ENVIRONMENTAL
TECHNOLOGY, INC., KASCO RESTORAT;ON
SERVICES co., MERR_ILL LYNCH & Co. INC.,
NEW YORK UNLVERSITY, NOMURA
HOLDING AMERICA, INC., NOMURA
SECURITIES H\ITERNATIONAL, INC., ONE
WALL STREET HOLDINGS, LLC., STATE
STREET BANK AND TRUST COMPANY, AS
OWNER TRUSTEE 0F ZSF/oFFICE NY TRUST,
STRUCTURE TONE (UI<_), INC., STRUCTUR.E
TONE GLOBAL SERVICES, INC., THAMES
REALTY co, THE BANK OF NEW YORK

Case 1:07-cv-04490-AKH Document 34 Filed 05/23/2008 Page 2 of 2

COMPANY, INC., THE BANK OF NEW YORK
TRUST COMPANY NA, TISHMAN INTERIORS
CORPORATION, TOSCORP INC., TULLY
CONSTRUCTION CO., INC., TULLY
INDUSTRIES, INC. VERIZON NEW YORK,
INC, WESTON SOLUTIONS, INC., WFP
TOWER B CO. G.P. CORP., WFP TOWER B
HOLDING CO., LP, WFP TOWER B. CO., L.P.,
WFP TOWER D CO. G.P. CORP., WFP TOWER
D HOLDING CO. I L.P., WFP TOWER D
HOLDING CO. II L,P., WFP TOWER D
HOLDING l G.P.CORP., AND WFP TOWER D. CO., L.P., ET AL

Defendants.
____________________________ X
PLEASE TAKE NOTICE that defendant Envirotech Clean Air Inc. (“Envirotech”), as

 

and for their responses to the alfegations set forth in the Arnended Complaint by Adoption

 

 

'(“Che_ck-off Co_mplaint”) related to the Master C_or_npiain_t filed in the above~referenced action,

 

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filed in the matter of 111 re World Trade Cenrer Lower Manhattan Dz'saster Site Litz'gatz`on, 21
MC 102 (AKH).

WHER.BFORE, the defendant Envirotech demands judgment dismissing the above~
captioned action as against each of them, together With costs and disbursements

Dated: Lake Success, New York
.March 7, 2008
Yours, etc.

FRIEDMAN, I-IARFENIST, LANGER & KRAUT
Attorneys for Defendant ~Envirotech

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